               Case 5:16-cv-02150-EJD         Document 78      Filed 11/23/16     Page 1 of 6




1    Scott J. Sagaria (SBN 217981)
     Elliot W. Gale (SBN 263326)
2    Joe Angelo (SBN 268542)
     SAGARIA LAW, P.C.
3    2033 Gateway Pl., 5th Floor
     San Jose, CA 95110
4    Telephone: (408) 279-2288
     Facsimile: (408) 297-2299
5

6
     Attorneys for Plaintiff

7

8

9                                   UNITED STATES DISTRICT COURT

10                                 NORTHERN DISTRICT OF CALIFORNIA

11
     NADINE ADKINS,                                     Case No.: 5:16-cv-02150-EJD
12
                      Plaintiff,                        JOINT CASE MANAGEMENT
13                                                      STATEMENT
          v.
14                                                      Date:       December 1, 2016
     EXPERIAN INFORMATION SOLUTIONS,                    Time:       10:00 a.m.
15
     INC., et. al.,                                     Ctrm.:      4, 5th Floor
16
                      Defendants.
17

18

19             The parties hereby jointly submit this Joint Case Management Statement pursuant to the
20   Standing Order for All Judges of the Northern District of California dated November 1, 2014,
21
     Civil Local Rule 16-9 and the Clerk’s Notice Setting Case Management Conference entered on
22
     October 5, 2016.
23
     1.        FACTS.
24
               a)     Plaintiff:
25
               Plaintiff alleges that Defendants violated the FCRA and the California Consumer Credit
26
     Reporting Agencies Act, Cal. Civ. Code section 1785.1 et seq. (“CCRAA”) by “reporting
27

28


                                            -1–
                        JOINT CASE MANAGEMENT CONFERENCE STATEMENT
             Case 5:16-cv-02150-EJD            Document 78     Filed 11/23/16      Page 2 of 6




1    misleading and inaccurate account information” as well as failing “to conduct a reasonable
2    investigation.”
3            According to the Complaint, on June 28, 2013, Plaintiff filed for Chapter 13 Bankruptcy
4
     and subsequently received confirmation of her chapter 13 plan of financial reorganization.
5
             On October 2, 2015 Plaintiff obtained a copy of her credit report and noticed several
6
     tradelines all reporting misleading and inaccurate balance and past due balance information.
7
     Plaintiff then disputed the “inaccurate tradelines” with Equifax, Experian, and Trans Union and
8
     believes that Equifax, Experian, and Trans Union subsequently sent notification to each of the
9
     Defendants that Plaintiff was disputing the accuracy of what they were reporting.
10
             b)        Equifax, Inc.:
11
             Equifax, Inc. has been dismissed.
12
             c)        Experian Information Solutions, Inc.:
13
             Experian is a consumer credit reporting agency as that term is defined by the Fair Credit
14

15
     Reporting Act, 15 U.S.C. §1681 et seq. (“FCRA”). Experian denies Plaintiff’s claims and denies

16   that it violated the FCRA. At all relevant times, Experian maintained reasonable procedures to

17   assure maximum possible accuracy in its credit reports concerning Plaintiff, complied with the

18   requirements of the FCRA with respect to Plaintiff, and conducted reinvestigation(s) of

19   Plaintiff’s dispute(s) in compliance with the FCRA. Experian denies that it caused any damage
20   to Plaintiff.
21           d)        Lincoln Finance Company:
22           Lincoln Finance Company has been dismissed.
23           e)        Seventh Avenue, Inc.:
24
             On June 8, 2016, Defendant Seventh Avenue, Inc. (“Seventh Avenue”) filed a Motion to
25
     Dismiss Plaintiff’s Complaint. On October 7, 2016, the Court granted Seventh Avenue’s Motion
26
     to Dismiss and gave Plaintiff leave to amend. On October 25, 2016, Plaintiff filed the First
27
     Amended Complaint. The parties have agreed that Seventh Avenue’s response to the First
28
     Amended Complaint is due on or before December 5, 2016.
                                            -2–
                        JOINT CASE MANAGEMENT CONFERENCE STATEMENT
             Case 5:16-cv-02150-EJD          Document 78         Filed 11/23/16    Page 3 of 6




1           Seventh Avenue denies that it furnished inaccurate information to credit reporting
2    agencies and further denies that Plaintiff suffered any damages based on the allegations set forth
3    in the First Amended Complaint.
4
            f)      Systems & Services Technologies, Inc.:
5
            Systems & Services Technologies, Inc. has been dismissed.
6
            g)      TD Bank USA, N.A.:
7
            TD Bank USA, N.A. has been dismissed.
8
            h)      Pacific Monarch Resorts, Inc.:
9
            Pacific Monarch Resorts, Inc. has been dismissed.
10
     2.     LEGAL ISSUES.
11
            Plaintiff’s Complaint alleges violations of the FCRA and the CCRAA. The key legal
12
     issues at this time are listed below.
13
            i.      Whether any of Defendants’ alleged actions violate the FCRA or the CCRAA;
14
            ii.     Whether Defendants conducted a reasonable investigation in response to a dispute
15

16
                    from Plaintiff to the credit reporting agencies in compliance with the FCRA;

17          iii.    Whether Defendants failed to modify, delete, or block credit reporting

18                  information that was allegedly inaccurate;

19          iv.     Whether, for purposes of the FCRA and the CCRAA, Plaintiff’s account is

20                  accurately reporting;
21          v.      Whether Defendants furnished crediting reporting information about Plaintiff to
22                  the credit reporting agencies that they knew or should have known was
23                  incomplete or inaccurate in violation of the CCRAA;
24
            vi.     Whether Plaintiff incurred any injury as a result of the alleged violations by
25
                    Defendants; and
26
            vii.    Whether Plaintiff is entitled to any damages.
27
     3.     MOTIONS.
28


                                          -3–
                      JOINT CASE MANAGEMENT CONFERENCE STATEMENT
             Case 5:16-cv-02150-EJD           Document 78        Filed 11/23/16       Page 4 of 6




1           On November 14, 2016 Experian filed a motion to dismiss Plaintiff’s Amended
2    Complaint. The matter is set to be heard on May 11, 2017 at 9:00am.
3    4.     AMENDMENT OF PLEADINGS.
4
            Plaintiff filed an amended complaint on October 25, 2016.
5
     5.     SETTLEMENT AND ADR.
6
            Plaintiff is discussing settlement with all remaining defendants. One November 10,
7
     2016, the parties participated in a conference call with Howard Herman of the Court’s ADR
8
     Program Legal Staff to discuss mediation. The parties agreed, and Mr. Herman concurred, that
9
     mediation would not assist in resolving this case at this time because of legal issues pending in
10
     the Ninth Circuit and in this District, including, but not limited to, the pending motion to dismiss
11
     filed by Experian. The parties anticipate filing a Stipulation and [Proposed] Order with the Court
12
     requesting that they be excused from participating in ADR until further notice of the Court
13
     6.     SCHEDULING.
14

15
            The Court has set the following schedule [Dkt. 46]:

16                 Expert Designations: All expert disclosures required by Federal Rule of Civil

17                  Procedure 26(a)(2) shall be served on all parties on or beforeFebruary 3, 2017.

18                  Any contradictory or rebuttal information shall be disclosed on or

19                  beforeFebruary 17, 2017.
20                 Discovery Cutoff: Fact discovery shall be completed by all Parties on or before
21                  March 13, 2017 and expert discovery shall be completed by March 3, 2017.
22                 Dispositive Motions: All dispositive motions shall be filed on or before
23
                    February 24, 2017 and heard on April 6, 2017.
24
                   Trial Setting Conference February 9, 2017.
25
                   Joint Trial Setting Conference Statement: January 30, 2017
26
     7.     TRIAL.
27
            Plaintiff has requested a jury trial. Plaintiff estimates that the matter will take one full
28
     court day to try, inclusive of jury selection and closing argument.
                                         -4–
                     JOINT CASE MANAGEMENT CONFERENCE STATEMENT
             Case 5:16-cv-02150-EJD            Document 78        Filed 11/23/16       Page 5 of 6




1    8.      DISCLOSURE OF NON-PARTY INTERESTED ENTITIES OR PERSONS.
2            a)      Plaintiff: None.
3            b)      Experian:
4
             Experian filed its Certification of Interested Parties or Entities with the Court, as required
5
     by Civil Local Rule 3-15. Experian restates the contents of its certification as follows:
6
             Pursuant to Civil Local Rule 3-15, Experian certifies that the following listed persons,
7
     associations of persons, firms, partnerships, corporations (including parent corporations) or other
8
     entities (i) have a financial interest in the subject matter in controversy or in a party to the
9
     proceeding, or (ii) have a non-financial interest in the subject matter or in a party that could be
10
     substantially affected by the outcome of this proceeding:
11
             1.      Parent Companies: The ultimate parent company of Experian is Experian plc.
12
             2.      Subsidiaries Not Wholly Owned: The following companies are the US-based
13
     subsidiaries of Experian plc that are not wholly owned:
14

15
             (a)     Central Source LLC

16           (b)     Online Data Exchange LLC

17           (c)     New Management Services LLC

18           (d)     VantageScore Solutions LLC

19           (e)     Opt-Out Services LLC
20           3.      Publicly Held Companies: Experian plc owns 100 percent of Experian. Experian
21   plc is a Jersey registered company which is publicly traded on the London Stock Exchange.
22           c)      Seventh Avenue, Inc.:
23
             Seventh Avenue, Inc.’s parent company is Colony Brands, Inc., a privately held
24
     Wisconsin company. There is no public corporation that owns 10% or more of Colony Brands,
25
     Inc.'s stock.
26
     9.      OTHER.
27
             None at this time.
28


                                          -5–
                      JOINT CASE MANAGEMENT CONFERENCE STATEMENT
            Case 5:16-cv-02150-EJD           Document 78       Filed 11/23/16      Page 6 of 6




     DATED: November 23, 2016                     Jones Day
1

2                                                 By: /s/ Celia M. Jackson
                                                          Celia M. Jackson
3                                                 Attorney for Defendant
                                                  Experian Information Solutions, Inc.
4

5    DATED: November 23, 2016                     Reed Smith

6                                                 By: /s/ Le T. Duong
7
                                                          Le T. Duong
                                                  Attorney for Defendant
8                                                 Seventh Avenue, Inc.
9
     DATED: November 23, 2016                     Sagaria Law, P.C.
10
                                                  By: /s/ Elliot Gale
11
                                                          Elliot Gale
12                                                Attorney for Plaintiff Nadine Adkins

13

14
                                     CASE MANAGEMENT ORDER

15          The above JOINT CASE MANAGEMENT STATEMENT & PROPOSED ORDER is

16   approved as the Case Management Order for this case and all parties shall comply with its

17   provisions. [In addition, the Court makes the further orders stated below:]
18          IT IS SO ORDERED.
19

20   Dated: _______, 2016
                                           United States District Judge Edward J. Davila
21

22

23

24

25

26

27

28


                                         -6–
                     JOINT CASE MANAGEMENT CONFERENCE STATEMENT
